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UNITED STATES DISTRICT COURT FIL
EASTERN DISTRICT OF NEW YORK oe AN QLERK'S oF
x S. BISTRICT COURT Sb.N

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DENISE P. JACKSON, : . oM

: TIME A.M.

Plaintiff, : AMENDED COMPLAINT
: (RESPONSE TO
: MEMORANDUM AND
-against- : ORDER)

(1:06)-cv- 6173-ENV-LB
NEW YORK CITY DEPARTMENT OF
EDUCATION and UNITED FEDERATION:
OF TEACHERS (NEW YORK), :

Defendants.

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Plaintiff, Denise P. Jackson, for the Response of the Memorandum and Order
(Amended Complaint), respectfully alleges as foliows:

Honorable Judge Vitaliano, respectfully, I beg yours and the Court’s permission
for indulgence, allowing me to preface my “short and plain statements” with the
following:

1. Historically, the UFT has dibbled and dabbled in nefarious, precarious
associations with ensuing manifestations, thereof. The association and concomitant
relationship between the UFT and the NYCDOE have been documented throughout this
complaint. The NYCDOE has exhibited its ‘tied hands’ without the assistance of the
UFT, i.e., the UFT’s participation in bribery, forgery and lying to a Federal Agency. The
relevancy of this historical notation substantiates the UFT’s culpability in this complaint.
The UFT’s criminal involvement resonates throughout as bribery, forgery and lies to a
federal agency. If but for these offenses, the UFT should be found guilty of what this
complaint affirms.

2. The UFT surreptitiously yet superbly, demonstrated its culpability and
complicity by carrying out the NYCDOE’s demands that they deliver misguided, faulty
representation. Even you, honorable judge Vitaliano, reiterate in your Memorandum and
Order- on page 5- that the complaint alleges that the UFT failed to adequately act on my
behalf in the grievance process against the DOE. And, it is because of the UFT’S faulty,
misguided representation at the prompting by the DOE, the UFT’s denial of culpability
through their motion to dismiss should be put on trial along side the DOE’s egregious
destruction of my career and character. But for the UFT, I would still be happily and
lucratively employed in the career of my dreams.

3. I submit that unless and until the UFT be found culpable, complicit and
conspiratorial in the demise of my career and character, the DOE will wittily, without
compunction, seek for further victims whose career and character are at the behest of
capriciousness and criminality.

4. Honorable Judge Vitaliano, had I been made privy that the UFT’s motion
to dismiss would be granted long after their November 2006 request, and two weeks
before the second scheduling of the pre-trail occurrences, I would have began to scrub
toilets so that I could hire an attorney. It was obvious that their stringent objections and
concomitant memorandum of law were both overruled. The untimely manner in which «.
the dismissal was granted has put me at an unfair disadvantage, begging both mercy and
grace from you and the court.

5. Therefore, most Honorable Judge Vitaliano, I implore both you and the
court to reconsider your memorandum and order so that the UFT and its egregious efforts
stand trial alongside its co-conspirator, the NYCDOE.

“(i) in the same manner in which the NYCDOE discriminated against me (see
complaint), so has the UFT by it not allowing me representation after repeated requests;
(ii) the same factual basis that is in support of the NYCDOE’s discrimination against me
I submit that the UFT has inherit this factual basis through its association and relationship
to the NYCDOE;(iii) respectfully, Honorable Judge Vitaliano, to Whom can I go but to
God Who then instructs and guides me to seek remedy through the chain of command. I
went to my supervisor herself. I then went to my supervisor’s supervisor. When they
began to work in tandem to destroy my career, I finally understood and went to the UFT.
When I ascertained that the aforementioned were operating in unison, I then went to the
EEOC. So, yes, I did exhaust every remedy that would be applicable in this complaint.”

“(1) the breaches that the UFT have allowed to go unrepaired are as egregious as
the breaches in the levees in New Orleans during Hurricane Katrina’s aftermath, of which
43 members of my family and myself were effected. From the non-reporting to the under-
reporting of my grievances; from the limited follow-up to the no follow-up, at all; from
the bribery and forgery to the lying to a federal agency, yes, I would say that the UFT not
only allowed breaches to go unrepaired, they participated and assisted in these breaches’
construction; and, (2) the discriminatory animus motivated the UFT’s actions because

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they were in agreement with the NYCDOE in deciding to give my position to either a
younger white teacher having not as much experience, expertise and education as I or, to
a much younger black teacher lacking the same experience, expertise and education as
the aforementioned younger white teacher.

WHEREFORE, plaintiff requests judgment not dismissing the Complaint.

Dated: Brooklyn, New York
April 16, 2007

Denise P Jackson
9728 3 Avenue, #203
Brooklyn, New York 11209

By: bh. fo

pes

Denise P/Jackson

To: Courtesy copy sent to defendant.

 
